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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

MICHAEL PERKAJ, individually, and
on behalf of all others similarly
situated,
                                            Case No. ________________
             Plaintiff,

       v.

FLAGSTAR BANCORP, INC. and
FLAGSTAR BANK, FSB,

             Defendants.
                                            JURY TRIAL DEMANDED

                            CLASS ACTION COMPLAINT
      Plaintiff Michael Perkaj (“Plaintiff”), individually, and on behalf of all others

similarly situated, by and through his attorneys, brings this action against Flagstar

Bancorp, Inc. and Flagstar Bank, FSB (collectively, “Flagstar” or “Defendants”),

and alleges, based upon personal knowledge as to his own actions and his counsels’

investigation, and based upon information and belief as to all other matters, as

follows:
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                              I.     INTRODUCTION

        1.    Flagstar is a full-service, Michigan-based bank and mortgage lender

operating 150 branches across the United States and holding over $23 billion in

assets.1

        2.    As a bank and mortgage originator company providing financial

services, Flagstar collects, maintains, and stores its clients’ highly sensitive personal

and financial information including, but not limited to: full names, Social Security

numbers, dates of birth, financial account information, payment card numbers, and

account access information (“personally identifying information” or “PII”). 2

        3.    Although Flagstar is a sophisticated entity that provides banking,

mortgage, and financial services to clients, Flagstar failed to invest in adequate data

security, thereby allowing hackers to exfiltrate the highly-sensitive personal and

financial information of approximately 1.5 million individuals, including the

Plaintiff and the Class. As a direct, proximate, and foreseeable result of Flagstar’s

failure to implement reasonable security protections sufficient to prevent an




1
  About Flagstar, Flagstar Bank, https://www.flagstar.com/about-flagstar.html (last
accessed July 11, 2022) (Exhibit B).
2
    Data     Breach Notifications,        Office   of   the   Maine       Attorney
General, https://apps.web.maine.gov/online/aeviewer/ME/40/667f2112-b49f-445d-
be03-dee38e32bf8e.shtml (last accessed July 11, 2022) (Exhibit C).


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eminently avoidable cyberattack, unauthorized actors compromised Flagstar’s

network and accessed millions of client files containing highly-sensitive PII.3

          4.   Specifically, on December 3, 2021, and December 4, 2021 Flagstar’s

clients’ sensitive personal data was compromised when unauthorized actors were

able to breach Flagstar’s network and access files containing approximately

1,547,169 individual’s PII (the “Data Breach”).4

          5.   Despite the fact that many of the categories of PII exposed in the Data

Breach, such as Social Security numbers, cannot be changed, Flagstar failed to

provide notice of the Breach to Plaintiff and other individuals affected by the Data

Breach (“the Class”) until on or around June 17, 2022—more than two weeks after

Flagstar claims to have realized that the Data Breach occurred, and more than six

months after unauthorized individuals accessed Plaintiff’s and Class members’

highly sensitive PII stored on Flagstar’s systems.

          6.   On information and belief, Flagstar believed that it had suffered a Data

Breach involving its current and former customer’s PII prior to June 2, 2022.

          7.   Flagstar’s failure to promptly notify Plaintiff and Class members that

their PII was exfiltrated due to Flagstar’s security failures virtually ensured that the

unauthorized third parties who exploited those security lapses could monetize,



3
    Id.
4
    Id.

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misuse and/or disseminate that PII before Plaintiff and Class members could take

affirmative steps to protect their sensitive information. As a result, Plaintiff and the

Class will suffer indefinitely from the substantial and concrete risk that their

identities will be (or already have been) stolen and misappropriated.

      8.     Flagstar failed to take sufficient and reasonable measures to safeguard

its data security systems and protect highly sensitive data in order to prevent the Data

Breach from occurring; to disclose to current and former clients the material fact that

it lacked appropriate data systems and security practices to secure PII and financial

information; and to timely detect and provide adequate notice of the Data Breach to

affected individuals. Due to Flagstar’s failures, Plaintiff and approximately 1.5

million individuals nationwide suffered substantial harm and injury.

      9.     As a result of Flagstar’s negligent, reckless, intentional, and/or

unconscionable failure to adequately satisfy its contractual, statutory, and common-

law obligations, Plaintiff’s and Class members’ PII was accessed and acquired by

unauthorized third-parties for the express purpose of misusing the data and causing

further irreparable harm to the personal, financial, reputational, and future well-

being of Flagstar’s current and former clients. Plaintiff and Class members face the

real, immediate, and likely danger of identity theft and misuse of their PII, especially

because their PII was specifically targeted by malevolent actors.




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      10.    Plaintiff and Class members suffered injuries as a result of Flagstar’s

conduct including, but not limited to: lost or diminished value of their PII; out-of-

pocket expenses associated with the prevention, detection, and recovery from

identity theft, tax fraud, and/or unauthorized the use of their PII; lost opportunity

costs associated with attempting to mitigate the actual consequences of the Data

Breach, including but not limited to the loss of time needed to take appropriate

measures to avoid unauthorized and fraudulent charges; time needed to change

usernames and passwords on their accounts; time needed to investigate, correct and

resolve unauthorized debits; time needed to deal with spam messages and e-mails

received subsequent to the Data Breach; charges and fees associated with fraudulent

charges on their accounts; and the continued and increased risk of compromise to

their PII, which remains in Flagstar’s possession and is subject to further

unauthorized disclosures so long as Flagstar fails to undertake appropriate and

adequate measures to protect their PII. These risks will remain for the lifetimes of

Plaintiff and the Class.

      11.    Accordingly, Plaintiff brings this action on behalf of all those similarly

situated to seek relief from Flagstar’s failure to reasonably safeguard Plaintiff’s and

Class members’ PII; its failure to reasonably provide timely notification that

Plaintiff’s and Class members’ PII had been compromised by an unauthorized third




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party; and for intentionally and unconscionably deceiving Plaintiff and Class

members concerning the status, safety, location, access, and protection of their PII.

                                  II.    PARTIES

      Plaintiff Michael Perkaj

      12.    Plaintiff Michael Perkaj (“Plaintiff”) is a resident and citizen of

Michigan, residing in Brighton, Michigan.

      13.    Plaintiff received Flagstar’s Notice of Data Breach (the “Notice”), a

copy of which is attached hereto as Exhibit A, after June 17, 2022.

      14.    Plaintiff is a former client of Flagstar. According to the Notice Plaintiff

received, Flagstar possessed Plaintiff’s PII, including his name, Social Security

number, and telephone number, and stored the PII in a file on Flagstar’s network.

      15.    Plaintiff previously maintained a checking account at Flagstar. Plaintiff

does not recall exactly when he opened that account, but, to the best of his

recollection, believes he opened it in or around 2010, at which time he provided

Flagstar with various categories of PII, including but not limited to his name, phone

number, and Social Security number. Plaintiff closed that account approximately 10

years ago and, since that time, has not maintained an account, or any other business

relationship, with Flagstar.

      16.    Plaintiff provided his PII to Flagstar with the expectation that Flagstar

and its agents would exercise reasonable care to protect and maintain the



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confidentiality of his PII and other confidential information by safeguarding it from

compromise, disclosure, and misuse by unauthorized actors, except to the extent

necessary to provide agreed-upon financial services, and would be timely and

forthright relating to any data security incidents involving his PII.

       17.    In the Notice that Plaintiff received after June 17, 2022, Flagstar

informed him that his Social Security number, name, and phone number “were

accessed and/or acquired from our network. . . .” Exhibit A. Further, although

Flagstar asserted in the Notice that it has “no evidence that any of the information

had been misused” Flagstar concedes his PII was exfiltrated. See Ex. A at 1 (“certain

impacted files containing your personal information were accessed and/or

acquired . . .”).

       18.    In acknowledgement of the risks that the Data Breach impose on

Plaintiff, Flagstar offered Plaintiff identity monitoring services at no cost for two

years, and advised Plaintiff that he should obtain a credit report and place a fraud

alert or security freeze on his credit files in order to guard against the concrete risks

the Data Breach imposed upon him.

       19.    The Data Breach already has required Plaintiff to expend significant

time and effort to protect himself from its potential adverse consequences, including

but not limited to investigating whether hackers have further attempted to misuse his

PII, and potential means by which to protect himself from identity theft, such as by



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placing fraud alerts on his credit accounts at major credit bureaus, reviewing his

credit reports, and monitoring associated bank and credit accounts.

       20.    Because Plaintiff perpetually will be at risk of identity theft due to the

nature of the PII Flagstar failed to safeguard, Plaintiff ultimately elected to purchase

at an initial annual cost of $87.99 the ReliaShield product, a suite of tools designed

to, inter alia, protect Plaintiff from identity theft.

       21.    As a direct, proximate and foreseeable result of the Data Breach, as well

as Flagstar’s failure to prevent against and timely notify Plaintiff of the same,

Plaintiff has suffered concrete injuries and damages, including out-of-pocket costs

incurred in mitigating the immediate effects of the Data Breach and the heightened

risk of fraud and identity theft to which the Breach exposed him.

       Defendant Flagstar Bank, FSB

       22.    Defendant Flagstar Bank, FSB is a federally chartered bank organized

under the laws of the State of Michigan, with its principal place of business at 5151

Corporate Drive, Troy, Michigan 48098.

       Defendant Flagstar Bancorp, Inc.

       23.    Defendant Flagstar Bancorp, Inc. is a corporation organized under the

laws of the State of Michigan, with its principal place of business at 5151 Corporate

Drive, Troy, Michigan 48098. Flagstar Bank, FSB is a wholly-owned subsidiary of

Flagstar Bancorp, Inc.



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                        III.   JURISDICTION AND VENUE
        24.    This Court has subject-matter jurisdiction pursuant to the Class Action

Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d)(2), because this is a class

action in which the matter in controversy exceeds the sum of $5,000,000, the number

of class members exceeds 100, and at least one Class member is a citizen of a state

different from Defendants.

        25.    This Court has personal jurisdiction over Defendants because

Defendants are authorized to and regularly conduct business in Michigan, and are

headquartered in Troy, Michigan.

        26.    Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to Plaintiff’s and Class

members’ claims occurred in this District.

                         IV.   FACTUAL ALLEGATIONS

A.      Flagstar Bank, FSB - Background

        27.    Flagstar provides banking, mortgage, and financial services to clients

at 150 branches, making Flagstar the sixth largest bank mortgage originator in the

country, handling $300 billion in home loans.5 Flagstar represents to its clients that

“protecting [their] finances is a top priority” and that “[t]he only employees who see



5
    See About Flagstar, supra, footnote 1, Ex. B.


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[their] information are those whose job functions require them to review sensitive

data.”6

      28.    As part of their business operations, Flagstar collects, maintains, and

stores the highly sensitive PII and financial information provided by its current and

former clients, including but not limited to: full names, Social Security numbers,

dates of birth, financial account numbers, payment card information, phone

numbers, and account access information.

      29.    On information and belief, at the time of the Data Breach, and despite

its claims that Flagstar has “firewalls and prevention systems that stop unauthorized

access to our network and computers, plus secure network protocols that ensure

secure connections between our offices, partners, and customers,”7 Flagstar failed to

implement necessary data security safeguards, which resulted in unauthorized third

parties accessing the PII of over 1.5 million current and former clients.

      30.    Current and former clients of Flagstar, such as Plaintiff and the Class,

made their PII available to Flagstar with the reasonable expectation that Flagstar

would comply with its obligation and promises to keep their sensitive and personal

information, including their PII, confidential and secure from illegal and




6
   Preventing Fraud, Flagstar Bank, https://www.flagstar.com/fraud-information-
center/preventing-fraud.html (last accessed July 11, 2022) (Exhibit D).
7
  Id.

                                         10
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unauthorized access, and that Flagstar would provide them with prompt and accurate

notice of any unauthorized access to their PII.

      31.    Unfortunately for Plaintiff and Class members, Flagstar failed to carry

out its duty to safeguard this highly sensitive PII and provide adequate data security,

thus failing to protect Plaintiff and Class members from the exfiltration of their PII

during the Data Breach.

B.    The Data Breach

      32.    Flagstar disclosed in a Notice sent on or about June 17, 2022, to

Plaintiff and other affected individuals that it was affected by a “cyber incident that

involved unauthorized access to [their] network”—the Data Breach—and that

Plaintiff’s and other individual’s sensitive PII had been compromised. Further,

Flagstar acknowledges that the unauthorized actors were able to exfiltrate Plaintiff’s

and Class members’ PII and Social Security numbers, stating that “files containing

your personal information were accessed and/or acquired from our network . . .” See

Exhibit A.

      33.    According to the Notice, this unauthorized access to Flagstar’s network

occurred “between December 3, 2021 and December 4, 2021.” See Exhibit A.

      34.    Flagstar asserts in the Notice that it did not detect the Data Breach until

on or about June 2, 2022, almost six months after the unauthorized individuals first

gained unfettered access to Flagstar’s data systems. See Exhibit A.



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        35.    Flagstar asserts that upon discovering the Data Breach, at some

undisclosed date prior to June 2, 2022, it “activated [its] incident response plan,

engaged external cybersecurity professionals experienced in handling these types of

incidents, and reported the matter to federal law enforcement” that unauthorized

actors accessed files containing Flagstar’s current and former clients’ “Social

Security number, name, and phone number.” See Exhibit A.

        36.    According to Flagstar, it finally determined on June 2, 2022, that certain

files accessed and exfiltrated by the unauthorized individuals in the Data Breach

contained personal information of both current and former customers.

        37.    Despite acquiring knowledge of the unauthorized access on June 2,

2022, Flagstar delayed in sending individualized notice to affected clients until on

or after June 17, 2022. See Exhibit A.

        38.    Flagstar has not yet acknowledged the full extent of PII that was

improperly accessed by unauthorized third parties in the Data Breach. Flagstar

admitted in a filing with the Maine Attorney General that the unauthorized actors

gained access to Flagstar’s current and former clients’ “[n]ame or other personal

identifier in combination with: Social Security Number” but failed to specify which

types of personal identifiers were accessed.8




8
    See Data Breach Notifications, supra, footnote 2, Ex. C.

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        39.    During the time that the unauthorized individuals had unrestricted

access to Flagstar’s network, they were able to access and acquire personal,

sensitive, and protected PII belonging to over 1.5 million current and former Flagstar

clients.

C.      Flagstar’s Many Failures Both Prior to and Following the Breach

        40.    Flagstar could have prevented this Data Breach by properly encrypting

or otherwise protecting their equipment and network files containing PII.

        41.    In the Notice, Flagstar acknowledged the sensitive and confidential

nature of the PII. To be sure, collecting, maintaining, and protecting PII is vital to

virtually every aspect of Flagstar’s operations as a banking institute. Flagstar

acknowledges this fact on their own website, stating “[s]ecuring your financial

information is essential to protecting your finances” and that “[p]rotecting your

finances is a top priority.”9

        42.    Despite such representations, and its purported expertise with

“firewalls and prevention systems that stop unauthorized access,” Flagstar failed to

detect that its own data system was compromised until June 2, 2022.10

        43.    Further, despite detecting the Data Breach on June 2, 2022, Flagstar

waited until on or about June 17, 2022, to begin notifying its current and former



9
    See Preventing Fraud, supra, footnote 6, Ex. D.
10
     Id.

                                          13
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clients of the Data Breach—over six months after the Data Breach occurred, a

significant amount of time after it first detected the Data Breach, and more than two

weeks after it determined that the unauthorized actors obtained and exfiltrated

current and former customers’ PII.

      44.    Moreover, when Flagstar finally acknowledged that it had experienced

a breach, it failed to fully inform affected individuals of the length of time that the

unauthorized actors had access to their PII, or even the full extent of the PII that was

accessed during the Data Breach.

      45.    Flagstar’s failure to properly safeguard Plaintiff’s and Class members’

PII allowed the unauthorized actors to access this highly sensitive PII and financial

information, and Flagstar’s failure to timely notify Plaintiff and other victims of the

Data Breach that their PII had been misappropriated precluded them from taking

meaningful steps to safeguard their identities prior to the dissemination of their PII.

      46.    The Data Breach also highlights the inadequacies inherent in Flagstar’s

network monitoring procedures. If Flagstar had properly monitored its cyber security

systems, it would have prevented the Data Breach, discovered the Data Breach

sooner, and/or have prevented the hackers from exfiltrating PII and financial

information. The foregoing is particularly true of former Flagstar customers like

Plaintiff, many of whom likely did not know that Flagstar continued to maintain

their PII on its system, and thus had no reason to think their PII may have been



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compromised in the Data Breach. Flagstar’s egregious failure to secure PII it had no

reason to continue to maintain has now needlessly exposed Plaintiff and other former

account holders to a concrete risk of future harm.

      47.    Flagstar’s delayed response only further exacerbated the consequences

of the Data Breach brought on by its systemic IT failures.

      48.    First, Flagstar failed to timely notify affected individuals, including

Plaintiff and Class members, that Flagstar had allowed their highly-sensitive PII to

be accessed by unauthorized third parties.

      49.    Second, Flagstar has made no effort to protect Plaintiff and the Class

from the long-term consequences of Flagstar’s acts and omissions. Although the

Notice offered victims a complimentary two year membership to Kroll’s credit

monitoring services, Plaintiff’s and Class members’ PII, including their Social

Security numbers, cannot be changed and will remain at risk long beyond two years.

As a result, Plaintiff and the Class will remain at a heightened and unreasonable risk

of identity theft for the remainder of their lives, a risk that only two years of credit

monitoring cannot remedy.

      50.    In short, Flagstar’s myriad failures, including to timely detect the Data

Breach and to notify Plaintiff and Class members with reasonable timeliness that

their personal and financial information had been exfiltrated due to Flagstar’s

security failures, allowed unauthorized individuals to access and misappropriate



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Plaintiff’s and Class members’ PII for months before Flagstar finally granted victims

the opportunity to take proactive steps to defend themselves and mitigate the near-

and long-term consequences of the Data Breach.

D.    Data Breaches Pose Significant Threats

      51.    Data breaches have become a constant threat that, without adequate

safeguards, can expose personal data to malicious actors. It is well known that PII,

including Social Security numbers and financial account information in particular,

is an invaluable commodity and a frequent target of hackers. Flagstar acknowledges

this fact on its own website, stating “[r]apid advances in technology and creative

criminal minds make fraud a potentially serious threat on a variety of fronts.”11

      52.    In 2019, the Identity Theft Resource Center and CyberScout Annual

End-of-Year Data Breach Report revealed a record 1,473 data breaches occurred,

resulting in approximately 164,683,455 sensitive records being exposed, a 17%

increase from 2018.12

      53.    Of the 1,473 recorded data breaches, 108 of them were in the

banking/credit/financial industry, with the number of sensitive records being


11
  See Preventing Fraud, supra, footnote 6, Ex. D.
12
   2019 End of Year Data Breach Report, Identity Theft Resource Center (Jan. 8,
2020), available at:
https://www.idtheftcenter.org/wp-
content/uploads/2020/01/01.28.2020_ITRC_2019-End-of-Year-Data-Breach-
Report_FINAL_Highres-Appendix.pdf (last accessed July 11, 2022) (Exhibit E).


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exposed exceeding 100 million. In fact, over 62% of the 164 million sensitive

records exposed in data breaches in 2019 were exposed in those 108 breaches in the

banking/credit/financial sector.13

      54.    The 108 reported financial sector data breaches reported in 2019

exposed 100,621,770 sensitive records, compared to 2018 in which only 1,778,658

sensitive records were exposed in financial sector breaches.14

      55.    In fact, Statista, a German entity that collects and markets data relating

to, among other things, data breach incidents and the consequences thereof,

estimates that the annual number of data breaches occurring in the United States

increased by approximately 692% between 2005 and 2018, a year during which over

446.5 million personal records were exposed due to data breach incidents.15

Conditions have only worsened since: Statista estimates that “[i]n 2019, the number

of data breaches in the United States amounted to 1,473 with over 164.68 million

sensitive records exposed[,]” and that “[i]n the first half of 2020, there were 540

reported data breaches.”16



13
   Id.
14
   Id.
15
   Annual Number of Data Breaches and Exposed Records in the United States from
2005       to     2020,       Statista     (Aug.      2020),     available   at:
https://www.statista.com/statistics/273550/data-breaches-recorded-in-the-
unitedstates-by-number-of-breaches-and-records-exposed (last accessed July 11,
2022) (Exhibit F).
16
   Id.

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      56.    Individuals place a high value not only on their PII, but also on the

privacy of that data. For the individual, identity theft causes “significant negative

financial impact on victims” as well as severe distress and other strong emotions and

physical reactions.

      57.    Individuals are particularly concerned with protecting the privacy of

their financial account information and Social Security numbers. Neal O’Farrell, a

security and identity theft expert for Credit Sesame, calls a Social Security number

“your secret sauce,” that is “as good as your DNA to hackers.” There are long-term

consequences to data breach victims whose Social Security numbers are taken and

used by hackers. Even if they know their Social Security numbers have been

accessed, Plaintiff and Class members cannot obtain new numbers unless they

become a victim of Social Security number misuse. Even then, the Social Security

Administration has warned that “a new number probably won’t solve all []

problems . . . and won’t guarantee . . . a fresh start.”

      58.    In light of recent high profile data breaches at other industry leading

companies, including, Equifax (147 million records, September 2017), Heartland

Bank (130 million records, January 2008), Capital One Bank (100 million records,

March 2019), JPMorgan Chase (83 million records, October 2014), Experian (24

million records, August 2020), First American Financial (885 million records, May

2019), Microsoft (250 million records, December 2019), Wattpad (268 million



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records, June 2020), Facebook (267 million users, April 2020), Estee Lauder (440

million records, January 2020), and Whisper (900 million records, March 2020),

Flagstar knew or should have known that its electronic records would be targeted by

cybercriminals.

      59.    Indeed, cyberattacks have become so notorious that the FBI and U.S.

Secret Service have issued a warning to potential targets so they are aware of and

take appropriate measures to prepare for and are able to thwart such an attack.

      60.    Protecting banking customers’ PII is of such vital importance that

Congress enacted the Gramm–Leach–Bliley Act, which, inter alia, imposes “an

affirmative and continuing obligation” on all financial institutions to “respect the

privacy of [their] customers and to protect the security and confidentiality of those

customers’ nonpublic personal information.” 15 U.S.C. § 6801. In furtherance of

that duty, institutions are required to establish appropriate safeguards “to insure the

security and confidentiality of customer records and information; to protect against

any anticipated threats or hazards to the security or integrity of such records; and to

protect against unauthorized access to or use of such records or information which

could result in substantial harm or inconvenience to any customer.” Id.

      61.    Consumers’ PII remains of high value to criminals, as evidenced by the

prices they will pay through the dark web. Numerous sources cite dark web pricing

for stolen identity credentials.



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      62.    Compromised Social Security numbers pose the greatest risk to

consumers because they may be put to a variety of fraudulent uses and are difficult

for an individual to change. The Social Security Administration stresses that the loss

of an individual’s Social Security number, as happened here, can lead to identity

theft and extensive financial fraud:

             A dishonest person who has your Social Security number can use
             it to get other personal information about you. Identity thieves
             can use your number and your good credit to apply for more
             credit in your name. Then, they use the credit cards and don’t pay
             the bills, it damages your credit. You may not find out that
             someone is using your number until you’re turned down for
             credit, or you begin to get calls from unknown creditors
             demanding payment for items you never bought. Someone
             illegally using your Social Security number and assuming your
             identity can cause a lot of problems.17

      63.    Furthermore, trying to change or cancel a stolen Social Security number

is no minor task. An individual cannot obtain a new Social Security number without

significant paperwork and evidence of actual misuse. In other words, preventive

action to defend against the possibility of misuse of a Social Security number is not

permitted; an individual must show evidence of actual, ongoing fraud activity to

obtain a new number.




17
  Identity Theft and Your Social Security Number, Social Security Administration
(July 2021), available at: https://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed
July 11, 2022) (Exhibit G).

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      64.    This data, as one would expect, demands a much higher price on the

black market. Martin Walter, senior director at cybersecurity firm RedSeal,

explained, “[c]ompared to credit card information, personally identifiable

information and Social Security Numbers are worth more than 10x on the black

market.”18

      65.    Given the nature of Flagstar’s Data Breach, as well as the length of the

time Flagstar’s networks were breached and the long delay in notification to the

Class, it is foreseeable that the compromised PII has been or will be used by hackers

and cybercriminals in a variety of devastating ways. Indeed, the cybercriminals who

possess Plaintiff’s and Class members’ PII can easily obtain Plaintiff’s and Class

members’ tax returns or open fraudulent credit card accounts in Class members’

names.

      66.    Based on the foregoing, the information compromised in the Data

Breach is significantly more valuable than the loss of, for example, credit card

information in a retailer data breach, because credit card victims can cancel or close

credit and debit card accounts. The information compromised in this Data Breach is

impossible to “close” and difficult, if not impossible, to change.


18
   Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen
Credit Card Numbers, Computer World (Feb. 6, 2015), available at
http://www.itworld.com/article/2880960/anthem-hack-personal-data-stolen-sells-
for-10x-price-of-stolen-credit-card-numbers.html (last accessed July 11, 2022)
(Exhibit H).

                                         21
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      67.     To date, Flagstar has offered its consumers only two years of identity

monitoring services. The offered services are inadequate to protect Plaintiff and the

Class from the threats they face for years to come, particularly in light of the PII at

issue here.

      68.     Despite the prevalence of public announcements of data breaches and

data security compromises, its own expertise in the information technology sector,

its own acknowledgment of the risks posed by data breaches, and its own

acknowledgment of its duties to keep PII private and secure, Flagstar failed to take

appropriate steps to protect the PII of Plaintiffs and the Class from misappropriation.

As a result, the injuries to Plaintiff and the Class were directly and proximately

caused by Flagstar’s failure to implement or maintain adequate data security

measures for its current and former clients.

E.    Flagstar Had a Duty and Obligation to Protect PII

      69.     Flagstar has an obligation, both statutory and self-imposed, to keep

confidential and protect from unauthorized access and/or disclosure Plaintiff’s and

Class members’ PII. Flagstar’s obligations are derived from: 1) government

regulations and state laws, and FTC rules and regulations; 2) industry standards; and

3) promises and representations regarding the handling of sensitive PII. Plaintiff and

Class members provided, and Flagstar obtained, their PII on the understanding that

their PII would be protected and safeguarded from unauthorized access or disclosure.



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      70.    The Federal Trade Commission (“FTC”) defines identity theft as “a

fraud committed or attempted using the identifying information of another person

without authority.”19 The FTC describes “identifying information” as “any name or

number that may be used, alone or in conjunction with any other information, to

identify a specific person,” including, among other things, “[n]ame, Social Security

number, date of birth, official State or government issued driver’s license or

identification number, alien registration number, government passport number,

employer or taxpayer identification number.”20

      71.    The FTC has issued numerous guides for businesses highlighting the

importance of reasonable data security practices. According to the FTC, the need for

data security should be factored into all business decision-marking.

      72.    In 2016, the FTC updated its publication, Protecting Personal

Information: A Guide for Business, which established guidelines for fundamental

data security principles and practices for business.21 The guidelines note businesses

should protect the personal information that they keep; properly dispose of personal

information that is no longer needed; encrypt information stored on computer


19
   17 C.F.R. § 248.201 (2013).
20
   Id.
21
   Protecting Personal Information: A Guide for Business, Federal Trade Comm’n
(Oct. 2016), available at: https://www.ftc.gov/system/files/documents/plain-
language/pdf-0136_proteting-personal-information.pdf (last accessed July 11, 2022)
(Exhibit I).


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networks; understand their network’s vulnerabilities; and implement policies to

correct security problems.22 The guidelines also recommend that businesses use an

intrusion detection system to expose a breach as soon as it occurs; monitor all

incoming traffic for activity indicating someone is attempting to hack the system;

watch for large amounts of data being transmitted from the system; and have a

response plan ready in the event of a breach.23 Flagstar clearly failed to do any of the

foregoing, as evidenced by the length of the Data Breach, and the amount of data

exfiltrated.

       73.     Here, at all relevant times, Flagstar was fully aware of its obligation to

protect the PII of its current and former clients, including Plaintiff and the Class,

representing to its customers that “[s]ecuring [clients’] financial information is

essential to protecting [clients’] finances” and Flagstar is a sophisticated and

technologically savvy financial and banking institution that relies extensively on

technology systems and networks, and routinely maintains and transmits clients’ PII

and financial information in order to operate its business.24

       74.     Flagstar had and continues to have a duty to exercise reasonable care in

collecting, storing, and protecting the PII and financial information of its current and

former customers from the foreseeable risk of a data breach. The duty arises out of


22
   Id.
23
   Id.
24
   See Preventing Fraud, supra, footnote 6, Ex. D.

                                           24
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the special relationship that exists between Flagstar and Plaintiff and Class members.

Flagstar alone had the exclusive ability to implement adequate security measures to

its cyber security network to secure and protect Plaintiff’s and Class members’ PII.

        75.   Flagstar’s failure to follow the FTC guidelines and its subsequent

failure to employ reasonable and appropriate measures to protect against

unauthorized access to confidential client data constitutes unfair acts or practices

prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 14 U.S.C.

§ 45.

        76.   Further, Flagstar had a duty to promptly notify Plaintiff and the Class

that their PII was accessed by unauthorized persons.

F.      Flagstar Violated FTC and Industry Standard Data Protection Protocols

        77.   The FTC rules, regulations, and guidelines obligate businesses to

protect PII, from unauthorized access or disclosure by unauthorized persons.

        78.   Unfortunately, Flagstar failed to comply with FTC rules, regulations

and guidelines, and industry standards concerning the protection and security of PII.

As evidenced by the duration, scope, and nature of the Data Breach, among its many

deficient practices, Flagstar failed in, inter alia, the following respects:

              a.    Developing and employing adequate intrusion detection
                    systems;

              b.    Engaging in regular reviews of audit logs and authentication
                    records;



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             c.    Developing and maintaining adequate data security systems to
                   reduce the risk of data breaches and cyberattacks;

             d.    Ensuring the confidentiality and integrity of current and former
                   clients’ PII;

             e.    Protecting against any reasonably anticipated threats or hazards
                   to the security or integrity of its current and former clients’ PII;

             f.    Implementing policies and procedures to prevent, detect,
                   contain, and correct security violations;

             g.    Developing adequate policies and procedures to regularly review
                   records of system activity, such as audit logs, access reports, and
                   security incident tracking reports;

             h.    Implementing technical policies, procedures and safeguards for
                   electronically stored information concerning PII that permit
                   access for only those persons or programs that have specifically
                   been granted access; and

             i.    Other similar measures to protect the security and confidentiality
                   of its current and former clients’ PII.

      79.    Had Flagstar implemented the above-described data security protocols,

policies, and/or procedures, the consequences of the Data Breach could have been

avoided or greatly reduced. Flagstar could have prevented or detected the Data

Breach prior to the unauthorized actors accessing Flagstar’s systems and extracting

sensitive and personal information; the amount and/or types of PII accessed by the

hackers could have been avoided or greatly reduced; and current and former clients

of Flagstar would have been notified sooner, allowing them to promptly take

protective and mitigating actions.




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G.    Flagstar’s Data Security Practices are Inadequate and Inconsistent with
      its Self-Imposed Data Security Obligations
      80.    Flagstar purports to care about data security and safeguarding clients’

PII, and represents that it will keep secure and confidential the PII belonging to its

current and former clients.

      81.    Plaintiff’s and Class members’ PII and financial information was

provided to Flagstar in reliance on its promises and self-imposed obligations to keep

PII and financial information confidential, and to secure the PII and financial

information from unauthorized access by malevolent actors. It failed to do so.

      82.    The length of the Data Breach also demonstrates that Flagstar failed to

safeguard PII by, inter alia: maintaining an adequate data security environment to

reduce the risk of a data breach; periodically auditing its security systems to discover

intrusions like the Data Breach; and retaining outside vendors periodically to test its

network, servers, systems and workstations.

      83.    Had Flagstar undertaken the actions that federal and state law require,

the Data Breach could have been prevented or the consequences of the Data Breach

significantly reduced, as Flagstar would have detected the Data Breach prior to the

hackers extracting data from Flagstar’s networks, and Flagstar’s current and former

customers would have been notified of the Data Breach sooner, allowing them to

take necessary protective or mitigating measures much earlier.




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      84.    Indeed, following the Data Breach, Flagstar effectively conceded that

its security practices were inadequate and ineffective. In the Notice it sent to Plaintiff

and others, Flagstar acknowledged that the Data Breach required it to implement

multiple remedial measures to protect its current and former clients from the

unauthorized access of “files containing [their] personal information were accessed

and/or acquired from [its] network. . . .” See Exhibit A.

H.    Plaintiff and the Class Suffered Harm Resulting from the Data Breach

      85.    Like any data hack, the Data Breach presents major problems for all

affected. The FTC warns the public to pay particular attention to how they keep

personally identifying information including Social Security numbers and other

sensitive data. As the FTC notes, “once identity thieves have your personal

information, they can drain your bank account, run up charges on your credit cards,

open new utility accounts, or get medical treatment on your health insurance.”25

      86.    The ramifications of Flagstar’s failure to properly secure PII, including

Plaintiff’s and Class members’ PII, are severe. Identity theft occurs when someone

uses another person’s financial, and personal information, such as that person’s

name, address, Social Security number, and other information, without permission

to commit fraud or other crimes.


25
    Warning Signs of Identity Theft, Federal Trade Comm’n, available at:
https://www.identitytheft.gov/#/Warning-Signs-of-Identity-Theft (last accessed
July 11, 2022) (Exhibit J).

                                           28
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      87.    According to data security experts, one out of every four data breach

notification recipients becomes a victim of identity fraud.

      88.    Furthermore, PII has a long shelf-life because it contains different

forms of personal information, it can be used in more ways than one, and it typically

takes time for an information breach to be detected.

      89.    Accordingly, Flagstar’s wrongful actions and/or inaction and the

resulting Data Breach have also placed Plaintiff and the Class at an imminent,

immediate, and continuing increased risk of identity theft and identity fraud. Javelin

Strategy & Research, a leading provider of quantitative and qualitative research,

notes that “[t]he theft of SSNs places consumers at a substantial risk of fraud.”26

Moreover, there is a high likelihood that significant identity fraud and/or identity

theft has not yet been discovered or reported. Even data that have not yet been

exploited by cybercriminals bears a high risk that the cybercriminals who now

possess Plaintiff’s and Class members’ PII will do so at a later date or re-sell it.

      90.    In response to the Data Breach, Flagstar offered to provide certain

individuals whose PII was exposed in the Data Breach with two years of credit

monitoring. However, two years of complimentary credit monitoring is a time period


26
   Al Pascual, The Consumer Data Insecurity Report: Examining the Data Breach-
Identity Fraud Paradigm in Four Major Metropolitan Areas, National Consumer
League              (June              2014),          available            at:
https://www.it.northwestern.edu/bin/docs/TheConsumerDataInsecurityReport_byN
CL.pdf (last accessed July 11, 2022) (Exhibit K).

                                          29
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much shorter than what is necessary to protect against the lifelong risk of harm

imposed on Plaintiff and Class members by Flagstar’s failures.

       91.    Moreover, the credit monitoring offered by Flagstar is inadequate to

protect them from the injuries resulting from the unauthorized access and exfiltration

of their sensitive PII.

       92.    Here, due to the Breach, Plaintiff and Class members have been

exposed to injuries that include, but are not limited to:

              a.     Theft of PII;

              b.     Costs associated with the detection and prevention of identity
                     theft and unauthorized use of financial accounts as a direct and
                     proximate result of the PII stolen during the Data Breach;

              c.     Damages arising from the inability to use accounts that may have
                     been compromised during the Data Breach;

              d.     Costs associated with spending time to address and mitigate the
                     actual and future consequences of the Data Breach, such as
                     finding fraudulent charges, cancelling and reissuing payment
                     cards, purchasing credit monitoring and identity theft protection
                     services, placing freezes and alerts on their credit reports,
                     contacting their financial institutions to notify them that their
                     personal information was exposed and to dispute fraudulent
                     charges, imposition of withdrawal and purchase limits on
                     compromised accounts, including but not limited to lost
                     productivity and opportunities, time taken from the enjoyment of
                     one’s life, and the inconvenience, nuisance, and annoyance of
                     dealing with all issues resulting from the Data Breach, if they
                     were fortunate enough to learn of the Data Breach despite
                     Flagstar’s delay in disseminating notice in accordance with state
                     law;




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               e.    The imminent and impending injury resulting from potential
                     fraud and identity theft posed because their PII is exposed for
                     theft and sale on the dark web; and

               f.    The loss of Plaintiff’s and Class members’ privacy.

         93.   Plaintiff and Class members have suffered imminent and impending

injury arising from the substantially increased risk of fraud, identity theft, and misuse

resulting from their PII being accessed by cybercriminals, risks that will not abate

within a mere two years: the unauthorized access of Plaintiff’s and Class members’

PII, especially their Social Security numbers, puts Plaintiff and the Class at risk of

identity theft indefinitely, and well beyond the limited period of credit monitoring

that Flagstar offered victims of the Breach. The two years of credit monitoring that

Flagstar offered to certain victims of the Data Breach is inadequate to mitigate the

aforementioned injuries Plaintiff and Class members have suffered and will continue

to suffer as a result of the Data Breach.

         94.   As a direct and proximate result of Flagstar’s acts and omissions in

failing to protect and secure PII and financial information, Plaintiff and Class

members have been placed at a substantial risk of harm in the form of identity theft,

and have incurred and will incur actual damages in an attempt to prevent identity

theft.

         95.   Plaintiff retains an interest in ensuring there are no future breaches, in

addition to seeking a remedy for the harms suffered as a result of the Data Breach



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on behalf of both himself and similarly situated individuals whose PII was accessed

in the Data Breach.

      96.    Flagstar is aware of the ongoing harm that the Data Breach has and will

continue to impose on Flagstar’s current and former clients, as the notices that it

posted and sent to Plaintiff and Class members regarding the Data Breach advise the

victims to place “a fraud alert and/or security freeze on [their] credit files, and/or

obtain[] a free credit report.” See Exhibit A.

                          V.    CLASS ALLEGATIONS

      97.    Plaintiff brings this action on behalf of himself and, pursuant to Fed. R.

Civ. P. 23(a), 23(b)(2), and 23(b)(3), a Class of:

             All persons in the United States whose PII was accessed in the
             Data Breach.

Excluded from the Class are Defendants, their executives and officers, and the

Judge(s) assigned to this case. Plaintiff reserves the right to modify, change or

expand the Class definition after conducting discovery.

      98.    In the alternative, Plaintiff brings this action on behalf of himself and,

pursuant to Fed. R. Civ. P. 23(a), 23(b)(2), and 23(b)(3), a subclass of:

             All persons who are residents of the State of Michigan whose
             PII was accessed in the Data Breach (the “Michigan Subclass”).

Excluded from the Michigan Subclass are Defendants, their executives and officers,

and the Judge(s) assigned to this case.



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         99.   Numerosity: Upon information and belief, the Class is so numerous that

joinder of all members is impracticable. While the exact number and identities of

individual members of the Class are unknown at this time, such information being

in the sole possession of Flagstar and obtainable by Plaintiff only through the

discovery process, Plaintiff believes, and on that basis alleges, that more than 1.5

million individuals comprise the Class and were affected by the Data Breach. Indeed,

Flagstar admitted that the Data Breach affected more than 1.5 million individuals in

its notification to the Maine Attorney General’s Office.27 The members of the Class

will be identifiable through information and records in Flagstar’s possession,

custody, and control.

         100. Existence and Predominance of Common Questions of Fact and Law:

Common questions of law and fact exist as to all members of the Class. These

questions predominate over the questions affecting individual Class members. These

common legal and factual questions include, but are not limited to:

               a.    Whether Flagstar’s data security and retention policies were
                     unreasonable;

               b.    Whether Flagstar failed to protect the confidential and highly
                     sensitive information with which it was entrusted;

               c.    Whether Flagstar owed a duty to Plaintiff and Class members to
                     safeguard their PII;




27
     See Data Breach Notifications, supra, footnote 2, Ex. C.

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             d.     Whether Flagstar breached any legal duties in connection with
                    the Data Breach;

             e.     Whether Flagstar’s conduct was intentional, reckless, willful or
                    negligent;

             f.     Whether an implied contract was created concerning the security
                    of Plaintiff’s and Class members’ PII;

             g.     Whether Flagstar breached that implied contract by failing to
                    protect and keep secure Plaintiff’s and Class members’ PII
                    and/or failing to timely and adequately notify Plaintiff and Class
                    members of the Data Breach;

             h.     Whether Plaintiff and Class members suffered damages as a
                    result of Flagstar’s conduct; and

             i.     Whether Plaintiff and the Class are entitled to monetary
                    damages, injunctive relief and/or other remedies and, if so, the
                    nature of any such relief.

      101. Typicality: All of Plaintiff’s claims are typical of the claims of the Class

as Plaintiff and all members of the Class had their PII compromised in the Data

Breach. Plaintiff and the members of the Class sustained damages as a result of

Flagstar’s uniform wrongful conduct.

      102. Adequacy: Plaintiff is an adequate representative because his interests

do not materially or irreconcilably conflict with the interests of the Class he seeks to

represent, he has retained counsel competent and highly experienced in complex

class action litigation, and intends to prosecute this action vigorously. Plaintiff and

his counsel will fairly and adequately protect the interests of the Class. Neither




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Plaintiff nor his counsel have any interests that are antagonistic to the interests of

other members of the Class.

      103. Superiority: A class action is superior to all other available means of

fair and efficient adjudication of the claims of Plaintiff and the Class. The injury

suffered by each individual Class member is relatively small in comparison to the

burden and expense of individual prosecution of the complex and extensive litigation

necessitated by Flagstar’s conduct. It would be virtually impossible for members of

the Class individually to effectively redress the wrongs done to them. Even if the

members of the Class could afford such individual litigation, the court system could

not. Individualized litigation presents a potential for inconsistent or contradictory

judgments. Individualized litigation increases the delay and expense to all parties

and to the court system presented by the complex legal and factual issues of the case.

By contrast, the class action device presents far fewer management difficulties, and

provides the benefits of single adjudication, economy of scale, and comprehensive

supervision by a single court. Members of the Class can be readily identified and

notified based on, inter alia, Flagstar’s records and databases.

      104. Flagstar has acted, and refused to act, on grounds generally applicable

to the Class, thereby making appropriate final relief with respect to the Class as a

whole.




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                           VI.     CAUSES OF ACTION

                           COUNT I — Negligence
     (On behalf of the Class, or, in the alternative, the Michigan Subclass)

      105. Plaintiff incorporates and realleges all allegations above as if fully set

forth herein.

      106. This count is brought on behalf of all Class members.

      107. Flagstar owed a duty to Plaintiff and the Class to use and exercise

reasonable and due care in obtaining, retaining, and securing the PII that Flagstar

collected.

      108. Flagstar owed a duty to Plaintiff and the Class to provide security,

consistent with industry standards and requirements, and to ensure that its cyber

networks and systems, and the personnel responsible for them, adequately protected

the PII that Flagstar collected.

      109. Flagstar owed a duty to Plaintiff and the Class to implement processes

to detect a data breach quickly, to act timely on warnings about data breaches, and

to inform the victims of a data breach as soon as possible after it is discovered.

      110. Flagstar owed a duty of care to Plaintiff and the Class because they

were a foreseeable and probable victim of any inadequate data security practices.

      111. Flagstar solicited, gathered, and stored the PII belonging to Plaintiff and

the Class.




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      112. Flagstar knew or should have known it inadequately safeguarded this

information.

      113. Flagstar knew that a breach of its systems would inflict millions of

dollars of damages upon Plaintiff and the Class, and therefore Flagstar was charged

with a duty to provide adequate protections for this critically sensitive information.

      114. Flagstar had a special relationship with Plaintiff and the Class.

Plaintiff’s and Class members’ highly sensitive PII and financial information was

entrusted to Flagstar on the understanding that adequate security precautions would

be taken to protect the PII and financial information. Moreover, only Flagstar had

the ability to protect its systems and the PII stored on them from attack.

      115. Flagstar’s own conduct also created a foreseeable risk of harm to

Plaintiff, Class members, and their PII. Flagstar’s misconduct included failing to:

(1) secure its systems, servers and networks, despite knowing their vulnerabilities,

(2) comply with industry standard security practices, (3) implement adequate system

and event monitoring, and (4) implement the safeguards, policies, and procedures

necessary to prevent this type of data breach.

      116. Flagstar breached its duties to Plaintiff and the Class by failing to

provide fair, reasonable, or adequate cyber networks and data security practices to

safeguard the PII belonging to Plaintiff and the Class.




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       117. Flagstar breached its duties to Plaintiff and the Class by creating a

foreseeable risk of harm through the misconduct previously described.

       118. Flagstar breached the duties it owed to Plaintiff and Class members by

failing to implement proper technical systems or security practices that could have

prevented the unauthorized access of PII.

       119. The law further imposes an affirmative duty on Flagstar to timely

disclose the unauthorized access and theft of the PII belonging to Plaintiff and the

Class so that Plaintiff and the Class can take appropriate measures to mitigate

damages, protect against adverse consequences, and thwart future misuse of their

PII.

       120. Flagstar failed to return, purge, or delete the PII belonging to Plaintiff

and other former customers of Flagstar at the conclusion of their banking

relationship and within the time limits allowed by law.

       121. Flagstar breached the duties it owed to Plaintiff and the Class by failing

to timely and accurately disclose to Plaintiff and Class members that their PII had

been improperly acquired or accessed.

       122. Flagstar breached its duty to timely notify Plaintiff and Class members

of the Data Breach by failing to provide direct notice to Plaintiff and the Class

concerning the Data Breach until on or about June 17, 2022.




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          123. As a direct and proximate result of Flagstar’s conduct, Plaintiff and the

Class have suffered a drastically increased risk of identity theft, relative to both the

time period before the breach, as well as to the risk born by the general public, as

well as other damages, including but not limited to time and expenses incurred in

mitigating the effects of the Data Breach.

          124. As a direct and proximate result of Flagstar’s conduct, Plaintiff and the

Class have suffered injury and are entitled to damages in an amount to be proven at

trial.

                           COUNT II — Negligence Per Se
         (On behalf of the Class, or, in the alternative, the Michigan Subclass)

          125. Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45,

prohibits “unfair . . . practices in or affecting commerce” including, as interpreted

and enforced by the FTC, the unfair act or practice by companies, such as Flagstar,

of failing to use reasonable measures to protect PII. Various FTC publications and

orders also form the basis of Flagstar’s duty.

          126. The Michigan Identity Theft Protection Act (“MITPA) requires that

entities in possession of PII belonging to Michigan residents that was or may have

been accessed by unauthorized persons disclose the data breach without

unreasonable delay. See Mich. Comp. Laws § 445.72(4).

          127. The Michigan Consumer Protection Act (“MCPA”) requires that

entities in possession of PII belonging to Michigan residents to: 1) protect PII from

                                            39
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unauthorized access and disclosure, and 2) maintain reasonable security practices.

See Mich. Comp. Laws § 445.903(1).

      128. In addition to the FTC rules and regulations, the MITPA, and MCPA,

other states and jurisdictions where victims of the Data Breach are located require

that Flagstar protect PII from unauthorized access and disclosure, and timely notify

the victim of a data breach.

      129. Flagstar violated the MITPA, the MCPA and FTC rules and regulations

obligating companies to use reasonable measures to protect PII by failing to comply

with applicable industry standards and by unduly delaying reasonable notice of the

actual breach. Flagstar’s conduct was particularly unreasonable given the nature and

amount of PII it obtained and stored, the foreseeable consequences of a Data Breach

and the exposure of Plaintiff’s and Class members’ sensitive PII.

      130. Flagstar’s violations of the MITPA, the MCPA, the FTC Act and other

applicable statutes, rules, and regulations constitutes negligence per se.

      131. Plaintiff and the Class are within the category of persons the MITPA,

the MCPA and the FTC Act were intended to protect.

      132. The harm that occurred as a result of the Data Breach described herein

is the type of harm the MITPA, the MCPA and FTC Act were intended to guard

against.




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          133. As a direct and proximate result of Flagstar’s negligence per se,

Plaintiff and the Class have been damaged as described herein, continue to suffer

injuries as detailed above, are subject to the continued risk of exposure of their PII

in Flagstar’s possession, and are entitled to damages in an amount to be proven at

trial.

                      COUNT III — Breach of Implied Contract
         (On behalf of the Class, or, in the alternative, the Michigan Subclass)

          134. Plaintiff incorporates and realleges all allegations above as if fully set

forth herein.

          135. This count is brought on behalf of all Class members.

          136. Plaintiff and the Class provided Flagstar with their PII and financial

information.

          137. By providing their PII, and upon Flagstar’s acceptance of such

information, Plaintiff and the Class, on one hand, and Flagstar, on the other hand,

entered into implied-in-fact contracts for the provision of data security, separate and

apart from any express contract entered into between the parties.

          138. The implied contracts between Flagstar and Plaintiff and Class

members obligated Flagstar to take reasonable steps to secure, protect, safeguard,

and keep confidential Plaintiff’s and Class members’ PII. The terms of these implied

contracts are described in federal laws, state laws, and industry standards, as alleged




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above. Flagstar expressly adopted and assented to these terms in its public

statements, representations and promises as described above.

       139. The implied contracts for data security also obligated Flagstar to

provide Plaintiff and Class members with prompt, timely, and sufficient notice of

any and all unauthorized access or theft of their PII.

       140. Flagstar breached the implied contracts by failing to take, develop and

implement adequate policies and procedures to safeguard, protect, and secure the PII

belonging to Plaintiff and Class members; allowing unauthorized persons to access

Plaintiff’s and Class members’ PII; and failing to provide prompt, timely, and

sufficient notice of the Data Breach to Plaintiff and Class members, as alleged above.

       141. As a direct and proximate result of Flagstar’s breaches of the implied

contracts, Plaintiff and the Class have been damaged as described herein, will

continue to suffer injuries as detailed above due to the continued risk of exposure of

their PII in Flagstar’s possession, and are entitled to damages in an amount to be

proven at trial.

                           COUNT IV — Bailment
     (On behalf of the Class, or, in the alternative, the Michigan Subclass)

       142. Plaintiff incorporates and realleges all allegations above as if fully set

forth herein.

       143. This count is brought on behalf of all Class members.

       144. Plaintiff and Class members provide their PII to Flagstar.

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      145. In delivering their PII, Plaintiff and Class members intended and

understood that their PII would be safeguarded and protected.

      146. Flagstar accepted Plaintiff’s and Class members’ PII.

      147. By accepting possession of Plaintiff’s and Class members’ PII, Flagstar

understood that Plaintiff and the Class expected their PII to be adequately

safeguarded and protected. Accordingly, a bailment (or deposit) was established for

the mutual benefit of the parties.

      148. During the bailment (or deposit), Flagstar owed a duty to Plaintiff and

the Class to exercise reasonable care, diligence, and prudence in protecting their PII.

      149. Flagstar breached its duty of care by failing to take appropriate

measures to safeguard and protect Plaintiff’s and Class members’ PII, resulting in

the unlawful and unauthorized access to and misuse of Plaintiff’s and Class

members’ PII.

      150. Flagstar further breached its duty to safeguard Plaintiff’s and Class

members’ PII by failing to timely notify them that their PII had been compromised

as a result of the Data Breach.

      151. Flagstar failed to return, purge, or delete the PII belonging to Plaintiff

and Class members at the conclusion of the bailment (or deposit) and within the time

limits allowed by law.




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      152. As a direct and proximate result of Flagstar’s breach of its duties,

Plaintiff and the Class suffered consequential damages that were reasonably

foreseeable to Flagstar, including but not limited to the damages set forth herein.

      153. As a direct and proximate result of Flagstar’s breach of its duty,

Plaintiff’s and Class members PII that was entrusted to Flagstar during the bailment

(or deposit) was damaged and its value diminished.

      COUNT V — Violation of the Michigan Consumer Protection Act
                  Mich. Comp. Laws Ann. § 445.903, et seq.
     (On behalf of the Class, or, in the alternative the Michigan Subclass)

      154. Plaintiff incorporates and realleges all allegations above as if fully set

forth herein.

      155. This count is brought on behalf of the Michigan Subclass.

      156. The Michigan Consumer Protection Act (“MCPA”), Mich. Comp.

Laws § 445.903, et seq., prohibits “[u]nfair, unconscionable, or deceptive methods,

acts, or practices in the conduct of trade or commerce . . . .” Mich. Comp. Laws §

445.903(1).

      157. Flagstar engaged in deceptive trade practices in the course of its

business, in violation of MCPA, Section 445.903(1), including:

                a.   Representing that services have characteristics or benefits that
                     they do not have;

                b.   Representing that services are of a particular standard or quality
                     if they are of another;



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              c.   Advertising services with the intent not to dispose of the services
                   as advertised;

              d.   Advertising services with intent not to supply reasonably
                   expectable public demand;

              e.   Failing to reveal a material fact which tends to mislead or deceive
                   the consumer;

              f.   Making a representation of fact material to the transaction so that
                   a person reasonably believes the represented state of affairs to be
                   other than it actually is;

              g.   Failing to reveal facts material to the transaction in light of
                   representations made in a positive manner.

      158. Flagstar’s deceptive acts, omissions, and conduct include, but are not

limited to:

              a.   Failing to implement and maintain reasonable security and
                   privacy measures to protect Plaintiff’s and Class members’ PII,
                   which was a direct and proximate cause of the Data Breach;

              b.   Failing to identify foreseeable security and privacy risks,
                   remediate identified security and privacy risks, and adequately
                   improve security and privacy measures following previous
                   cybersecurity incidents in the industry, which were direct and
                   proximate causes of the Data Breach;

              c.   Failing to comply with common law and statutory duties
                   pertaining to the security and privacy of Plaintiff’s and Class
                   members’ PII, including but not limited to duties imposed by the
                   FTC Act, which were direct and proximate causes of the Data
                   Breach;

              d.   Misrepresenting that it would protect the privacy and
                   confidentiality of Plaintiff’s and Class members’ PII, including
                   by implementing and maintaining reasonable security measures;




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              e.    Misrepresenting that it would comply with common law,
                    statutory, and self-imposed duties pertaining to the security and
                    privacy of Plaintiff’s and Class members’ PII;

              f.    Omitting, suppressing, and concealing the material fact that it did
                    not reasonably or adequately secure Plaintiff’s and Class
                    members’ PII;

              g.    Omitting, suppressing, and concealing the material fact that it did
                    not comply with common law, statutory, and self-imposed duties
                    pertaining to the security and privacy of Plaintiff’s and Class
                    members’ PII; and

              h.    Failing to promptly and adequately notify Plaintiff and the Class
                    that their PII was accessed by unauthorized persons in the Data
                    Breach.

      159. Flagstar had exclusive knowledge of material information regarding its

deficient security policies and practices, and regarding the security of Plaintiff’s and

Class members’ PII. This exclusive knowledge includes, but is not limited to,

information that Flagstar received through internal and other non-public audits and

reviews that concluded that Flagstar’s security policies were substandard and

deficient, and that Plaintiff’s and Class members’ PII and other Flagstar data was

vulnerable.

      160. Flagstar had exclusive knowledge about the extent of the Data Breach,

including during the days, weeks, and months following the Data Breach.

      161. Flagstar also had exclusive knowledge about the length of time that it

maintained individual’s PII after they stopped using Flagstar’s services.




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      162. Flagstar failed to disclose, and actively concealed, the material

information it had regarding Flagstar’s deficient security policies and practices, and

regarding the security of the sensitive PII and financial information. For example,

even though Flagstar has long known, through internal audits and otherwise, that its

security policies and practices were substandard and deficient, and that Plaintiff’s

and Class members’ PII was vulnerable as a result, Flagstar failed to disclose this

information to, and actively concealed this information from, Plaintiff, Class

members and the public. Flagstar also did not disclose, and actively concealed,

information regarding the extensive length of time that it maintains former clients’

PII and other records. Likewise, during the days and weeks following the Data

Breach, Flagstar failed to disclose, and actively concealed, information that it had

regarding the extent and nature of the Data Breach.

      163. Flagstar had a duty to disclose the material information that it had

because, inter alia, it had exclusive knowledge of the information, it actively

concealed the information, and because Flagstar was in a fiduciary position by virtue

of the fact that Flagstar collected and maintained Plaintiff’s and Class members’ PII

and financial information.

      164. Flagstar’s representations and omissions were material because they

were likely to deceive reasonable individuals about the adequacy of Flagstar’s data




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security and its ability to protect the confidentiality of current and former clients’

PII.

       165. Had Flagstar disclosed to Plaintiff and the Class that its data systems

were not secure and, thus, vulnerable to attack, Flagstar would have been unable to

continue in business without adopting reasonable data security measures and

complying with the law. Instead, Flagstar received, maintained, and compiled

Plaintiff’s and Class members’ PII without advising that Flagstar’s data security

practices were insufficient to maintain the safety and confidentiality of their PII.

       166. Accordingly, Plaintiff and Class members acted reasonably in relying

on Flagstar’s misrepresentations and omissions, the truth of which they could not

have discovered.

       167. Flagstar’s practices were also contrary to legislatively declared and

public policies that seek to protect data and ensure that entities who solicit or are

entrusted with personal data utilize appropriate security measures, as reflected in

laws, such as the MITPA, MCPA and FTC Act.

       168. The injuries suffered by Plaintiff and the Class greatly outweigh any

potential countervailing benefit to consumers or to competition, and are not injuries

that Plaintiff and the Class should have reasonably avoided.




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      169. The damages, ascertainable losses and injuries, including to their

money or property, suffered by Plaintiff and the Class as a direct result of Flagstar’s

deceptive acts and practices as set forth herein include, without limitation:

             a.     unauthorized charges on their debit and credit card accounts;

             b.     theft of their PII;

             c.     costs associated with the detection and prevention of identity
                    theft and unauthorized use of their financial accounts;

             d.     loss of use of and access to their account funds and costs
                    associated with the inability to obtain money from their accounts
                    or being limited in the amount of money they were permitted to
                    obtain from their accounts, including missed payments on bills
                    and loans, late charges and fees, and adverse effects on their
                    credit including adverse effects on their credit scores and adverse
                    credit notations;

             e.     costs associated with time spent and the loss of productivity from
                    taking time to address and attempt to ameliorate and mitigate the
                    actual and future consequences of the Data Breach, including
                    without limitation finding fraudulent charges, cancelling and
                    reissuing cards, purchasing credit monitoring and identity theft
                    protection, imposition of withdrawal and purchase limits on
                    compromised accounts, and the stress, nuisance and annoyance
                    of dealing with all issues resulting from the Data Breach;

             f.     the imminent and certainly impending injury flowing from
                    potential fraud and identity theft posed by their PII being placed
                    in the hands of criminals;

             g.     damages to and diminution in value of their personal information
                    entrusted to Flagstar as their clients, and with the understanding
                    that Flagstar would safeguard their data against theft and not
                    allow access and misuse of their data by others; and

             h.     the continued risk to their PII, which remains in the possession
                    of Flagstar and which is subject to further breaches so long as


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                    Flagstar fails to undertake appropriate and adequate measures to
                    protect data in its possession.

      170. Plaintiff and the Class seek all monetary and non-monetary relief

allowed by law, including actual or nominal damages; declaratory and injunctive

relief, including an injunction barring Flagstar from disclosing their PII without their

consent; reasonable attorneys’ fees and costs; and any other relief that is just and

proper.

           COUNT VI — Violation of State Data Breach Statutes
     (On behalf of the Class, or, in the alternative, the Michigan Subclass)

      171. Plaintiff incorporates and realleges all allegations above as if fully set

forth herein.

      172. This count is brought on behalf of all Class members.

      173. Flagstar is a corporation that owns, maintains, and records PII, and

computerized data including PII, about its current and former clients, including

Plaintiff and Class members.

      174. Flagstar is in possession of PII belonging to Plaintiff and Class

members and is responsible for reasonably safeguarding that PII consistent with the

requirements of the applicable laws pertaining hereto.

      175. Flagstar failed to safeguard, maintain, and dispose of, as required, the

PII within its possession, custody, or control as discussed herein, which it was

required to do by all applicable State laws.



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      176. Flagstar, knowing and/or reasonably believing that Plaintiff’s and Class

members’ PII was acquired by unauthorized persons during the Data Breach, failed

to provide reasonable and timely notice of the Data Breach to Plaintiff and Class

members as required by following data breach statutes.

      177. Flagstar’s failure to provide timely and accurate notice of the Data

Breach violated the following state data breach statutes:

             a.    Alaska Stat. Ann. § 45.48.010(a), et seq.;

             b.    Ark. Code Ann. § 4-110-105(a), et seq.;

             c.    Cal. Civ. Code § 1798.80, et seq.;

             d.    Colo. Rev. Stat. Ann § 6-1-716(2), et seq.;

             e.    Conn. Gen. Stat. Ann. § 36a-701b(b), et seq.;

             f.    Del. Code Ann. Tit. 6 § 12B-102(a), et seq.;

             g.    D.C. Code § 28-3852(a), et seq.;

             h.    Fla. Stat. Ann. § 501.171(4), et seq.;

             i.    Ga. Code Ann. § 10-1-912(a), et seq.;

             j.    Haw. Rev. Stat. § 487N-2(a), et seq.;

             k.    Idaho Code Ann. § 28-51-105(1), et seq.;

             l.    Ill. Comp. Stat. Ann. 530/10(a), et seq.;

             m.    Iowa Code Ann. § 715C.2(1), et seq.;

             n.    Kan. Stat. Ann. § 50-7a02(a), et seq.;



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           o.    Ky. Rev. Stat. Ann. § 365.732(2), et seq.;

           p.    La. Rev. Stat. Ann. § 51:3074(A), et seq.;

           q.    Md. Code Ann., Commercial Law § 14-3504(b), et seq.;

           r.    Mass. Gen. Laws Ann. Ch. 93H § 3(a), et seq.;

           s.    Mich. Comp. Laws Ann. § 445.72(1), et seq.;

           t.    Minn. Stat. Ann. § 325E.61(1)(a), et seq.;

           u.    Mont. Code Ann. § 30-14-1704(1), et seq.;

           v.    Neb. Rev. Stat. Ann. § 87-803(1), et seq.;

           w.    Nev. Rev. Stat. Ann. § 603A.220(1), et seq.;

           x.    N.H. Rev. Stat. Ann. § 359-C:20(1)(a), et seq.;

           y.    N.J. Stat. Ann. § 56:8-163(a), et seq.;

           z.    N.C. Gen. Stat. Ann. § 75-65(a), et seq.;

           aa.   N.D. Cent. Code Ann. § 51-30-02, et seq.;

           bb.   Okla. Stat. Ann. Tit. 24 § 163(A), et seq.;

           cc.   Or. Rev. Stat. Ann. § 646A.604(1), et seq.;

           dd.   R.I. Gen. Laws Ann. § 11-49.3-4(a)(1), et seq.;

           ee.   S.C. Code Ann. § 39-1-90(A), et seq.;

           ff.   Tenn. Code Ann. § 47-18-2107(b), et seq.;

           gg.   Tex. Bus. & Com. Code Ann. § 521.053(b), et seq.;

           hh.   Utah Code Ann. § 13-44-202(1), et seq.;



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                ii.   Va. Code. Ann. § 18.2-186.6(B), et seq.;

                jj.   Wash. Rev. Code Ann. § 19.255.010(1), et seq.;

                kk.   Wis. Stat. Ann. § 134.98(2), et seq.; and

                ll.   Wyo. Stat. Ann. § 40-12-502(a), et seq.

      178. As a result of Flagstar’s failure to reasonably safeguard Plaintiff’s and

Class members’ PII, and the failure to provide reasonable and timely notice of the

Data Breach to Plaintiff and Class members, Plaintiff and the Class have been

damaged as described herein, continue to suffer injuries as detailed above, are

subject to the continued risk of exposure of their PII in Flagstar’s possession, and

are entitled to damages in an amount to be proven at trial.

       COUNT VII — Violation of State Consumer Protection Statutes
                       (On behalf of the Class)
      179. Plaintiff incorporates and realleges all allegations above as if fully set

forth herein.

      180. This count is brought on behalf of all Class members.

      181. Flagstar is a “person” as defined in the relevant state consumer statutes.

      182. Flagstar engaged in the conduct alleged herein that was intended to

result, and which did result, in the trade and commerce with Plaintiff and Class

members. Flagstar is engaged in, and its acts and omissions affect, trade and

commerce. Further, Flagstar’s conduct implicates consumer protection concerns

generally.


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      183. Flagstar’s acts, practices and omissions were done in the course of

Flagstar’s business of marketing, facilitating, offering for sale, and selling goods and

services throughout the United States.

      184. Flagstar’s      unlawful,     unfair,    deceptive,    fraudulent     and/or

unconscionable acts and practices include:

             a.     Failing to implement and maintain reasonable security and
                    privacy measures to protect Plaintiff’s and Class members’ PII,
                    which was a direct and proximate cause of the Data Breach;

             b.     Failing to identify foreseeable security and privacy risks,
                    remediate identified security and privacy risks, and adequately
                    improve security and privacy measures following previous
                    cybersecurity incidents in the industry, which was a direct and
                    proximate cause of the Data Breach;

             c.     Failing to comply with common law and statutory duties
                    pertaining to the security and privacy of Plaintiff’s and Class
                    members’ PII, including but not limited to duties imposed by the
                    FTC Act and similar state laws, rules, and regulations, which was
                    a direct and proximate cause of the Data Breach;

             d.     Misrepresenting that it would protect the privacy and
                    confidentiality of Plaintiff’s and Class members’ PII, including
                    by implementing and maintaining reasonable security measures;

             e.     Misrepresenting that it would comply with common law,
                    statutory, and self-imposed duties pertaining to the security and
                    privacy of Plaintiff’s and the Class members’ PII;

             f.     Omitting, suppressing, and concealing the material fact that it did
                    not reasonably or adequately secure Plaintiff’s and Class
                    members’ PII;

             g.     Omitting, suppressing, and concealing the material fact that it did
                    not comply with common law, statutory, and self-imposed duties



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                    pertaining to the security and privacy of Plaintiff’s and Class
                    members’ PII; and

             h.     Failing to promptly and adequately notify Plaintiff and Class
                    members that their PII was accessed by unauthorized persons in
                    the Data Breach.

      185. By engaging in such conduct and omissions of material facts, Flagstar

has violated state consumer laws prohibiting representing that “goods or services

have sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities

that they do not have,” representing that “goods and services are of a particular

standard, quality or grade, if they are of another” and/or “engaging in any other

conduct which similarly creates a likelihood of confusion or of misunderstanding”;

and state consumer laws prohibiting unfair methods of competition and unfair,

deceptive, unconscionable, fraudulent and/or unlawful acts or practices.

      186. Flagstar’s representations and omissions were material because they

were likely to deceive reasonable persons about the adequacy of Flagstar’s data

security and ability to protect the confidentiality of PII.

      187. Flagstar intentionally, knowingly, and maliciously misled Plaintiff and

Class members and induced them to rely on its misrepresentations and omissions.

      188. Had Flagstar disclosed that its data systems were not secure and, thus,

vulnerable to attack, it would have been unable to continue in business and it would

have been forced to adopt reasonable data security measures and comply with the

law. Instead, Flagstar received, maintained, and compiled Plaintiff’s and Class


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members’ PII without advising that Flagstar’s data security practices were

insufficient to maintain the safety and confidentiality of their PII. Accordingly,

Plaintiff and the Class members acted reasonably in relying on Flagstar’s

misrepresentations and omissions, the truth of which they could not have discovered.

      189. Past breaches within the industry put Flagstar on notice that its security

and privacy protections were inadequate.

      190. Flagstar’s practices were also contrary to legislatively declared and

public policies that seek to protect consumer data and ensure that entities who solicit

or are entrusted with personal data utilize appropriate security measures, as reflected

in laws like the MITPA, MCPA, and the FTC Act.

      191. The harm these practices caused to Plaintiff and the Class members

outweighed their utility, if any.

      192. The damages, ascertainable losses and injuries, including to their

money or property, suffered by Plaintiff and Class members as a direct result of

Flagstar’s unfair methods of competition and unfair, deceptive, fraudulent,

unconscionable and/or unlawful acts or practices as set forth herein include, without

limitation:

              a.    unauthorized charges on their debit and credit card accounts;

              b.    theft of their PII;

              c.    costs associated with the detection and prevention of identity
                    theft and unauthorized use of their financial accounts;


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            d.     loss of use of and access to their account funds and costs
                   associated with the inability to obtain money from their accounts
                   or being limited in the amount of money they were permitted to
                   obtain from their accounts, including missed payments on bills
                   and loans, late charges and fees, and adverse effects on their
                   credit including adverse effects on their credit scores and adverse
                   credit notations;

            e.     costs associated with time spent and the loss of productivity from
                   taking time to address and attempt to ameliorate and mitigate the
                   actual and future consequences of the Data Breach, including
                   without limitation finding fraudulent charges, cancelling and
                   reissuing cards, purchasing credit monitoring and identity theft
                   protection, imposition of withdrawal and purchase limits on
                   compromised accounts, and the stress, nuisance and annoyance
                   of dealing with all issues resulting from the Data Breach;

            f.     the imminent and certainly impending injury flowing from
                   potential fraud and identity theft posed by their PII being placed
                   in the hands of criminals;

            g.     damages to and diminution in value of their personal and
                   financial information entrusted to Flagstar and with the
                   understanding that Flagstar would safeguard their data against
                   theft and not allow access and misuse of their data by others; and

            h.     the continued risk to their PII, which remains in the possession
                   of Flagstar and which is subject to further breaches so long as
                   Flagstar fails to undertake appropriate and adequate measures to
                   protect data in its possession.

      193. Flagstar’s conduct described herein, including without limitation,

Flagstar’s failure to maintain adequate computer systems and data security practices

to safeguard Plaintiff’s and Class members’ PII, Flagstar’s failure to disclose the

material fact that it did not have adequate computer systems and safeguards to

adequately protect Plaintiff’s and Class members’ PII, Flagstar’s failure to provide



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timely and accurate notice to of the material fact of the Data Breach, and Flagstar’s

continued acceptance of Plaintiff’s and Class members’ PII constitute unfair

methods of competition and unfair, deceptive, unconscionable, fraudulent and/or

unlawful acts or practices in violation of the following state consumer statutes:

             a.    The Alabama Deceptive Trade Practices Act, Ala. Code § 8-19-
                   5(5), (7) and (27), et seq.;

             b.    The Arizona Consumer Fraud Act, A.R.S. § 44-1522;

             c.    The Arkansas Deceptive Trade Practices Act, Ark. Code Ann.
                   §§ 4-88-107(a)(1)(10) and 4-88-108(1)(2), et seq.;

             d.    The California Consumer Legal Remedies Act, Cal. Civ. Code
                   § 1750, et seq., and the California Unfair Competition Law, Cal.
                   Bus. and Prof. Code, § 17200, et seq.;

             e.    The Connecticut Unfair Trade Practices Act, Conn. Gen. Stat.
                   § 42-110(b), et seq.;

             f.    The Delaware Deceptive Trade Practices Act, Del. Code Ann.
                   Title 6, § 2532(5) and (7), et seq., and the Delaware Consumer
                   Fraud Act, Del. Code Ann. Title 6 § 2513, et seq.;

             g.    The Florida Deceptive and Unfair Trade Practices Act, Fla. Stat.
                   Ann. § 501.204(1), et seq.;

             h.    The Georgia Fair Business Practices Act, Ga. Code Ann. §§ 10-
                   1-393(a) and (b)(2), (5) and (7), et seq.;

             i.    The Hawaii Deceptive Trade Practices Act, Haw. Rev. Stat. Ann.
                   §§ 481A-3(a)(5), (7) and (12), et seq.; and the Hawaii Consumer
                   Protection Act, Haw. Rev. Stat. Ann. § 480-2(a), et seq.;

             j.    The Idaho Consumer Protection Act, Idaho Code §§ 48-603(5),
                   (7), (17) and (18), et seq.; and Idaho Code § 48-603C, et seq.;

             k.    The Illinois Consumer Fraud and Deceptive Trade Practices Act,
                   815 Ill. Stat. § 505/2, et seq.;


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           l.    The Indiana Deceptive Consumer Sales Act, Ind. Code §§ 24-5-
                 0.5-3(a) and (b)(1) and (2), et seq.;

           m.    The Iowa Consumer Fraud Act, I.C.A. §§ 714H.3 and 714H.5, et
                 seq.;

           n.    The Kansas Consumer Protection Act, Kan. Stat. §§ 50-626(a)
                 and (b)(1)(A)(D) and (b)(3), et seq.;

           o.    The Kentucky Consumer Protection Act, K.R.S. § 367.170(1)
                 and (2), et seq.;

           p.    The Louisiana Unfair Trade Practices and Consumer Protection
                 Law, La. Rev. Stat. Ann. § 51:1405(A), et seq.;

           q.    The Maine Uniform Deceptive Trade Practices Act, 10 M.R.S.A.
                 §§ 1212(1)(E) and (G), et seq., and the Maine Unfair Trade
                 Practices Act, 5 M.R.S.A. § 207, et seq.;

           r.    The Maryland Consumer Protection Act, Md. Code Commercial
                 Law, § 13-301(1) and (2)(i), and (iv) and (9)(i), et seq.;

           s.    The Massachusetts Consumer Protection Act, Ma. Gen. Laws
                 Ann. Ch. 93A § 2(a), et seq.;

           t.    The Michigan Consumer Protection             Act,    M.C.P.L.A.
                 § 445.903(1)(c)(e),(s) and (cc), et seq.;

           u.    The Minnesota Uniform Deceptive Trade Practices Act, Minn.
                 Stat. § 325D.44, subd. 1(5), (7) and (13), et seq., the Minnesota
                 Consumer Fraud Act, Minn. Stat. § 325F.69, subd. 1, and Minn.
                 Stat. § 8.31, subd. 3(a);

           v.    The Mississippi Consumer Protection Act, Miss. Code Ann.
                 §§ 75-24-5(1), (2)(e) and (g), et seq.;

           w.    The Missouri Merchandising Practices Act, Mo. Ann. Stat.
                 § 407.020(1), et seq.;

           x.    The Montana Unfair Trade Practices and Consumer Protection
                 Act, MCA §§ 30-14-103, et seq.;




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           y.    The Nebraska Consumer Protection Act, Neb. Rev. Stat. § 59-
                 1602, and the Nebraska Uniform Deceptive Trade Practices Act,
                 Neb. Rev. Stat. § 87-302(a)(5) and (7), et seq.;

           z.    The Nevada Deceptive Trade Practices Act, Nev. Rev. Stat. Ann.
                 § 598.0915(5) and (7), et seq.;

           aa.   The New Hampshire Consumer Protection Act, N.H. Rev. Stat.
                 Ann. § 358-A:2(v) and (vii), et seq.;

           bb.   The New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8-2,
                 et seq.;

           cc.   The New Mexico Unfair Practices Act, N.M. Stat. Ann. §§ 57-
                 12-2(D)(5)(7) and (14) and 57-12-3, et seq.;

           dd.   New York Business Law, N.Y. Gen. Bus. Law § 349(a);

           ee.   The North Carolina Unfair Trade Practices Act N.C.G.S.A. § 75-
                 1.1(a), et seq.;

           ff.   The North Dakota Unlawful Sales or Advertising Practices Act,
                 N.D. Cent. Code § 51-15-02, et seq.;

           gg.   The Ohio Consumer Sales Practices Act, Ohio Rev. Code Ann.
                 § 1345.02(A) and (B)(1) and (2), et seq.;

           hh.   The Oklahoma Consumer Protection Act, 15 Okl. Stat. Ann.
                 § 753(5), (7) and (20), et seq.; and the Oklahoma Deceptive
                 Trade Practices Act, 78 Okl. Stat. Ann. § 53(A)(5) and (7), et
                 seq.;

           ii.   The Oregon Unfair Trade Practices Act, Or. Rev. Stat.
                 § 646.608(1)(e)(g) and (u), et seq.;

           jj.   The Pennsylvania Unfair Trade Practices and Consumer
                 Protection Law, 73 P.S. §§ 201-2(4)(v)(vii) and (xxi), and 201-
                 3, et seq.;

           kk.   The Rhode Island Deceptive Trade Practices Act, R.I. Gen. Laws
                 § 6-13.1-1(6)(v), (vii), (xii), (xiii) and (xiv), et seq.;




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             ll.    The South Carolina Unfair Trade Practices Act, S.C. Code Ann.
                    § 39-5-20(a), et seq.;

             mm. The South Dakota Deceptive Trade Practices Act and Consumer
                 Protection Act, S.D. Codified Laws § 37-24-6(1), et seq.;

             nn.    The Tennessee Consumer Protection Act, Tenn. Code Ann.
                    §§ 47-18-104(a) and (b)(5) and (7);

             oo.    The Texas Deceptive Trade Practices- Consumer Protection Act,
                    V.T.C.A., Bus. & C. § 17.46(a), (b)(5) and (7), et seq.;

             pp.    The Utah Consumer Sales Practices Act, Utah Code Ann. §§ 13-
                    11-4(1) and (2)(a) and (b);

             qq.    The Vermont Consumer Fraud Act, 9 V.S.A. § 2453(a), et seq.;

             rr.    The Virginia Consumer Protection Act, Va. Code Ann. § 59.1-
                    200(A)(5)(6) and (14), et seq.;

             ss.    The Washington Consumer Protection Act, Wash. Rev. Code
                    § 19.86.020, et seq.;

             tt.    The West Virginia Consumer Credit and Protection Act, W.V.A.
                    Code § 46A-6-104, et seq.;

             uu.    The Wisconsin Deceptive Trade Practices Act, W.S.A.
                    § 100.20(1), et seq.; and

             vv.    The Wyoming Consumer Protection Act, Wyo. Stat. Ann. § 40-
                    12-105(a), (i), (iii) and (xv), et seq.

      194. Plaintiff and Class members seek all monetary and non-monetary relief

allowed by law, including actual or nominal damages; declaratory and injunctive

relief, including an injunction barring Flagstar from disclosing their PII without their

consent; reasonable attorneys’ fees and costs; and any other relief that is just and

proper.



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                     COUNT VIII — Unjust Enrichment
     (On behalf of the Class, or, in the alternative, the Michigan Subclass)

      195. Plaintiff incorporates and realleges all allegations above as if fully set

forth herein.

      196. This count is brought on behalf of all Class members.

      197. Plaintiff and the Class have an interest, both equitable and legal, in their

PII and financial information that was collected and maintained by Flagstar.

      198. Flagstar was benefitted by the conferral upon it of Plaintiff’s and Class

members’ PII and by its ability to retain and use that information. Flagstar

understood that it was in fact so benefitted.

      199. Flagstar also understood and appreciated that Plaintiff’s and Class

members’ PII and financial information was private and confidential and its value

depended upon Flagstar maintaining the privacy and confidentiality of that

information.

      200. But for Flagstar’s willingness and commitment to maintain its privacy

and confidentiality, Plaintiff and Class members would not have provide or

authorized their PII to be provided to Flagstar, and Flagstar would have been

deprived of the competitive and economic advantages it enjoyed by falsely claiming

that its data-security safeguards met reasonable standards. These competitive and

economic advantages include, without limitation, wrongfully gaining clients,

gaining the reputational advantages conferred upon it by Plaintiff and Class

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members, collecting excessive advertising and sales revenues as described herein,

monetary savings resulting from failure to reasonably upgrade and maintain data

technology infrastructures, staffing, and expertise raising investment capital as

described herein, and realizing excessive profits.

      201. As a result of Flagstar’s wrongful conduct as alleged herein (including,

among other things, its deception of Plaintiff, the Class, and the public relating to

the nature and scope of the data breach; its failure to employ adequate data security

measures; its continued maintenance and use of the PII belonging to Plaintiff and

Class members without having adequate data security measures; and its other

conduct facilitating the theft of that PII) Flagstar has been unjustly enriched at the

expense of, and to the detriment of, Plaintiff and the Class.

      202. Flagstar’s unjust enrichment is traceable to, and resulted directly and

proximately from, the conduct alleged herein, including the compiling and use of

Plaintiff’s and Class members’ sensitive PII, while at the same time failing to

maintain that information secure from intrusion.

      203. Under the common law doctrine of unjust enrichment, it is inequitable

for Flagstar to be permitted to retain the benefits it received, and is still receiving,

without justification, from Plaintiff and the Class in an unfair and unconscionable

manner. Flagstar’s retention of such benefits under circumstances making it

inequitable to do so constitutes unjust enrichment.



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      204. The benefit conferred upon, received, and enjoyed by Flagstar was not

conferred officiously or gratuitously, and it would be inequitable and unjust for

Flagstar to retain the benefit.

      205. Flagstar is therefore liable to Plaintiff and the Class for restitution in

the amount of the benefit conferred on Flagstar as a result of its wrongful conduct,

including specifically the value to Flagstar of the PII and financial information that

was accessed and exfiltrated in the Data Breach and the profits Flagstar receives

from the use and sale of that information.

                     COUNT IX — Declaratory Judgment
     (On behalf of the Class, or, in the alternative, the Michigan Subclass)

      206. Plaintiff incorporates and realleges all allegations above as if fully set

forth herein.

      207. This count is brought on behalf of all Class members.

      208. Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., this

Court is authorized to enter a judgment declaring the rights and legal relations of the

parties and grant further necessary relief. Furthermore, the Court has broad authority

to restrain acts, such as here, that are tortious and violate the terms of the federal and

state statutes described herein.

      209. An actual controversy has arisen in the wake of the Data Breach

regarding Flagstar’s present and prospective common law and other duties to

reasonably safeguard Plaintiff’s and Class members’ PII, and whether Flagstar is

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currently maintaining data security measures adequate to protect Plaintiff and Class

members from further data breaches that compromise their PII. Plaintiff alleges that

Flagstar’s data security measures remain inadequate.

       210. Plaintiff and the Class continue to suffer injury as a result of the

compromise of their PII and remain at imminent risk that further compromises of

their PII will occur in the future.

       211. Pursuant to its authority under the Declaratory Judgment Act, this Court

should enter a judgment declaring that Flagstar continues to owe a legal duty to

secure Plaintiff’s and Class members’ PII, to timely notify them of any data breach,

and to establish and implement data security measures that are adequate to secure

PII.

       212. The Court also should issue corresponding prospective injunctive relief

requiring Flagstar to employ adequate security protocols consistent with law and

industry standards to protect Plaintiff’s and Class members’ PII.

       213. If an injunction is not issued, Plaintiff and the Class will suffer

irreparable injury and lack an adequate legal remedy. The threat of another breach

of the PII in Flagstar’s possession, custody, and control is real, immediate, and

substantial. If another breach of Flagstar’s network, systems, servers, or

workstations occurs, Plaintiff and the Class will not have an adequate remedy at law,




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because many of the resulting injuries are not readily quantified and they will be

forced to bring multiple lawsuits to rectify the same conduct.

      214. The hardship to Plaintiff and the Class if an injunction does not issue

exceeds the hardship to Flagstar if an injunction is issued. Among other things, if

another massive data breach occurs at Flagstar, Plaintiff and the Class will likely be

subjected to substantial identify theft and other damage. On the other hand, the cost

to Flagstar of complying with an injunction by employing reasonable prospective

data security measures is relatively minimal, and Flagstar has a pre-existing legal

obligation to employ such measures.

      215. Issuance of the requested injunction will serve the public interest by

preventing another data breach at Flagstar, thus eliminating additional injuries to

Plaintiff and the thousands of Class members whose confidential information would

be further compromised.

                          VII.   PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually, and on behalf of all members of the

Class, respectfully requests that the Court enter judgment in their favor and against

Flagstar, as follows:

      A.     That the Court certify this action as a class action, proper and

             maintainable pursuant to Rule 23 of the Federal Rules of Civil




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           Procedure; declare that Plaintiff is a proper class representative; and

           appoint Plaintiff’s Counsel as Class Counsel;

     B.    That Plaintiff be granted the declaratory relief sought herein;

     C.    That the Court grant permanent injunctive relief to prohibit Flagstar

           from continuing to engage in the unlawful acts, omissions, and

           practices described herein;

     D.    That the Court award Plaintiff and the Class members compensatory,

           consequential, and general damages in an amount to be determined at

           trial;

     E.    That the Court award Plaintiff and the Class members statutory

           damages, and punitive or exemplary damages, to the extent permitted

           by law;

     F.    That the Court award to Plaintiff the costs and disbursements of the

           action, along with reasonable attorneys’ fees, costs, and expenses;

     G.    That the Court award pre- and post-judgment interest at the maximum

           legal rate;

     H.    That the Court award grant all such equitable relief as it deems proper

           and just, including, but not limited to, disgorgement and restitution; and

     I.    That the Court grant all other relief as it deems just and proper.




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                            DEMAND FOR JURY TRIAL

       Plaintiff, on behalf of himself and the putative Class, demand a trial by jury

on all issues so triable.

Date: July 11, 2022                    Respectfully Submitted,

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                          TABLE OF EXHIBITS

   EXHIBIT             DESCRIPTION

    Exhibit A      Notice of Data Breach
    Exhibit B      About Flagstar
    Exhibit C      Data Breach Notifications
    Exhibit D      Preventing Fraud
    Exhibit E      End of Year Data Breach Report
    Exhibit F      Annual Number of Data Breaches and Exposed Records in
                   the United States from 2005 to 2020
    Exhibit G      Identity Theft and Your Social Security Number
    Exhibit H      Personal Data Stolen Sells for 10x Price of Stolen Credit
                   Card Numbers
    Exhibit I      Protecting Personal Information: A Guide for Business
    Exhibit J      Warning Signs of Identity Theft
    Exhibit K      The Consumer Data Insecurity Report: Examining the Data
                   Breach- Identity Fraud Paradigm in Four Major
                   Metropolitan Areas
